Case 9:19-cr-80056-RKA Document 17 Entered on FLSD Docket 04/15/2019 Page 1 of 7



                             UN ITED STA TES D ISTRICT COU RT
                             SOU TH ERN D ISTR ICT OF FLO RIDA

                             Case N o.19-cr-80056-A 1tm an/Brannon


 UN ITED STATES OF A M ERICA ,
                                                                FILED BY                   D.C .

 YU JING ZH AN G ,                                                     AFq 15 2218
                                                                       ANGELA E.NOBLE
               D efendant.                                             CLERK U S DIST.CI
                                                                       s.o.oF/tA.-w,RB.


                             PR ETR IA L D ETENTIO N O RD ER

        TheCourt,pursuantto 18U.S.C.j3142,commonly known astheBailReform Actof
 1984,hereby O RDERS the Defendant,YU JING ZH AN G,detained pursuantto the provisions of

 Sections(b),(e)and(9.
        The Govenunent m oved for pretrial detention of D efendant on the basis that she is a

 substantialorseriousrisk oftlightornonappearance.A fterconducting a lengthy detention hearing

 in thiscase on April8,2019,and A pril15,2019,the Courtspecifically findsthatno conditionsor

 com bination of conditions w illreasonably assure the appearance ofD efendantas required.The

 CourtfindsthatD efendantm ustbedetained asa seriousrisk offlightornonappearance.The Court

 m akesthe following findings offactw ith respectto thisorderfordetention:

        Factors:

        a)     Thenatureandcircumstancesoftheoffensecharged,includingwhethertheoffense
 isa crim e ofviolence orinvolvesa narcotic drug.

        D efendantis charged by lndictm entw ith m aking false statem ents to a federalofficer,in

 violationof18U.S.C.j1001(a)(2),andenteringorremaininginarestrictedbuildingorgrounds,
Case 9:19-cr-80056-RKA Document 17 Entered on FLSD Docket 04/15/2019 Page 2 of 7




 inviolationof18U.S.C.j1752(a)(1).lfconvictedofmakingfalsestatementstoafederalofticer,
 D efendant faces up to tive years in prison,up to three years of supervised release,and up to a

 $250,000 tine.lfconvicted ofentering orremaining in a restricted building orgrounds,a federal
 m isdem eanor,D efendantfaces up to one year in prison,up to one yearofsupervised release,and

 up to a $1,000 fine.Defendantis also likely facing deportation or removalafter serving any

 crim inalsentence ifconvicted.

        W hile the offensesw ith which D efendantis charged are notcrim es ofviolence,violations

 ofsection 1951,orfederalcrim es oftenorism ,and do notinvolve a m inorvictim ora controlled

 substance,firearm ,explosive or destructive device, Defendant's charges are very serious and

 appearto have a direct nexus to unlawfully accessing a location where the President,his fam ily,

 and his staffwere located orw ere thoughtto be located.A s such,the allegations are very serious.

        b)     TheweightoftheevidenceagainsttheDefendant.
        TheweightoftheevidenceagainstDefendantisstrong.TheCourttakesjudicialnoticeof
 the infonnation in the Crim inalCom plaint,the lndictm ent,and the PretrialServices Report.The

 follow ing evidence wasestablished by the Crim inalCom plaint,the lndictm ent,the G overnm ent's

 proffer,D efendant's Exhibits #1-9,and the testim ony of SpecialA gentSam uellvanovich ofthe

 United States SecretService.

        The Presidentofthe United States,D onald J.Trum p,w as in Palm Beach County,Florida,

 visiting M ar-a-Lago starting on M arch 28, 2019. D uring the aflernoon of M arch 30, 2019,

 Defendantattem pted to gain accessto the M ar-a-Lago club.She inform ed a SecretService agent

 that she w as there to go to the pooland presented tw o People's Republic of China passports as

 identification,both in D efendant's nam e and displaying herphotograph.O ne passportw as valid,

 and the second passportw asexpired,butitcontained a touristvisa thatw asin effectthrough 2026.

                                                2
Case 9:19-cr-80056-RKA Document 17 Entered on FLSD Docket 04/15/2019 Page 3 of 7



 O nce D efendant's identity w asconfirm ed,D efendant's inform ation and passports w ere provided

 to M ar-a-l-ago security forveritication thatshe w aslisted on the M ar-a-lsago access list.

        M ar-a-laago security could notfind D efendanton the accesslist,so they called the m anager

 of the Beach Club to verify that she w as pennitted to go to the pool.M ar-a-lwago security w as

 inform ed by the Beach Club thati'Zhang''is the lastnam e ofa m em ber ofthe M ar-a-Lago club.

 Security asked D efendantifthatm em berw as herfather,butshe did notgive a definitive answ er.

 Because security attributed Defendant's indetinite answer to a language banier,they allowed her

 access onto the property. D efendant passed tw o prom inently displayed U nited States Secret

 Service restricted accessw arning signs.

        D efendantw as then picked up by the M ar-a-lsago valet driver via golf cal4 shuttle.The

 driver asked D efendantw here she w anted to go,and she responded that she did notknow .The

 drivertook D efendantto the m ain reception area.During the drive,Defendantpassed three Secret

 Service agents and another restricted access w arning sign. U pon arrival at the Secret

 Service-posted m ain m agnetom etercheckpoint,D efendantexited the golfcartand stopped in front

 of yet another restricted access sign.She read the sign for approxim ately 20 seconds before

 proceeding through the m agnetom eters.

        D efendantw entto the m ain reception area ofthe M ar-a-Lago Club,passing tw o additional

 restricted access w arning signs.A receptionist greeted D efendantand asked her why she w as at

 M ar-a-Lago. D efendant stated that she w as there for a U nited N ations Chinese A m erican

 A ssociation eventlaterthatevening.Thereceptionistknew the eventdid notexistand checked all

 access lists forM ar-a-l-ago.Because D efendantdid notappearon any access list,thereceptionist

 alerted SecretService.

        SpecialA gentlvanovich spoke w ith D efendant,who stated thatshe w as there to atlend a

                                                  3
Case 9:19-cr-80056-RKA Document 17 Entered on FLSD Docket 04/15/2019 Page 4 of 7



 Cdu nited N ationsFriendship Event''betw een the People'sRepublic ofChina and the U nited States.

 She claim ed she had arrived early to fam iliarize herself w ith the property and take pictures.

 D efendantshow ed SecretService agents a purported invitation to an eventon herphone,butthe

 agentsw ere unable to read itas itw asin Chinese.

        Defendant was taken off the property,and Special Agent lvanovich interviewed her in

 English.Defendantbecam e verbally aggressivew ith agentsand w asdetained and transported back

 to the W estPalm Beach SecretService oftice.Defendantw asadvised ofherM iranda w arningsin

 English,she advised sheunderstood them ,and she signed the warning waiving herM iranda rights.

 D efendant then stated that her Chinese friend Sécharles''had told her to travel from Shanghai,

 China,to Palm Beach,Florida,to attend an eventand speak w ith a m em ber of the President's

 fam ily about Chinese-A m erican econom ic relations.D efendant claim ed she had only spoken to

 dûcharles''via étW echat.''D efendantclaim ed thatshe neversaid she wasgoing to thepooland that

 she m isunderstood security when they asked herifa m em berofthe club w as herfather.H ow ever,

 according to the SecretService agents,D efendantw as com pletely conversationalin English.

        D efendant w as found to have in her possession four cellular telephones, one laptop

 com puter,one externalhard drive type device,and one thum b drive.Defendant did not have a

 bathing suitw ith her.D efendant told 1aw enforcem ent that she had so m any electronic devices

 with her atM ar-a-Lago because she feltthey w ould be unsafe in her hotelroom .H ow ever,after

 D efendant was arrested, 1aw enforcem ent determ ined that she had left num erous electronic

 devices including one cellphone, one signal detector, tive S1M cards, and nine U SB

 devices--over$7,500 in U.S.currency,$663 in Chinese currency,and m ultiple creditcardsand

 debitcards in her hotelroom w hile she w as at M ar-a-Lago.M oreover,D efendant cam e w ithin

 arm 'sreach ofthe com puters atthe M ar-a-Lago reception area.

                                                4
Case 9:19-cr-80056-RKA Document 17 Entered on FLSD Docket 04/15/2019 Page 5 of 7



        A ccording to defense counsel, a Young A dventurers event had been scheduled at

 M ar-a-Lago on M arch 28,2019,and w asto be attended by the President'ssister,butthe eventwas

 canceled.Defendantpaid a man thatisbelievedto be CharlesLee$20,000 on February 19,2019,
 foravacation packageto attend theevent.M r.Lee told D efendantshew ould bepennitted to arrive

 atM ar-a-lsago before the event.

        H owever, a prelim inary analysis of D efendant's cell phone and her t'W echat''

 conversationsw ith a contactnam ed Sçu nited N ations Charles''established thattscharles''inform ed

 Defendanton M arch 26,2019,thatthe eventhad been cancelled.A lthough D efendantresponded

 and asked Cscharles''why the event had been cancelled,she tlew to the U nited States two days

 later. Therefore, according to the G overnm ent,D efendant knew the alleged event had been

 cancelled before she everattem pted to gain accessto M ar-a-laago.

        c)      ThehistoryandcharacteristicsoftheDefendant.
        D efendantw asborn in 1986 in Shanghai,China.She is33 yearsold.She is a citizen ofthe

 People'sRepublic ofChina and has lived there forherwhole life.Defendanthaslived aloneatthe

 sam eresidence forthe lasttive years,and herfam ily som etim esstaysw ith her.She hasneverbeen

 m arried and hasno children.

        D efendant graduated from the University of Shanghai w ith a degree in econom ics.

 Defendant has also obtained a graduate degree. She allegedly has w orked in investm ents as a

 consultantatShaghaiZhirong A ssets Com pany for severalyears,although this em ploym enthas

 not been verified.Defendant travels outside the People's Republic of China for her job.
 D efendant's incom e is unknown and,according to D efendant,is variable because it is based on

 how many projects she completes.Defendantowns an unencumbered vehicle and owns her
 residence in the People'sRepublic ofChina,which is worth over$1m illion.She has a savings
                                                 5
Case 9:19-cr-80056-RKA Document 17 Entered on FLSD Docket 04/15/2019 Page 6 of 7



 account in the People's Republic of China and a W ells Fargo account in the United States.

 D efendanthasno physicalorm entalhealth issues,and sheusesno illegalsubstances.She isa vel'y

 intelligentw om an.

        D efendanthas traveled to the U nited Statesin July 2016,January 2017,D ecem ber2017,

 Septem ber 2018, and then, finally,on M arch 28, 2019. There is an im m igration detainer on

 D efendantbecause herB 1/B2 visa hasbeen revoked by the State D epartm ent.

        d)     ThecriminalhistoryoftheDefendant.
        D efendanthasno crim inalhistory in the U nited States.

        e)     ThelikelihoodoftheDefendant'sappearanceincourtifreleased.
        The policy underlying the BailR eform A ctSlis to perm itrelease under the leastrestrictive

 condition com patible w ith assuring the future appearance of the defendant.'' United States v.

 Price,773F.2d 1526,1527(11th Cir.1985)(percuriam).W hentheUnitedStatesseekstodetain
 a crim inal defendant pending trial based on her status as a tlight risk, it m ust prove by a

 preponderance ofthe evidence thatno condition or set of conditions w illreasonably assure her

 presenceattrial. Unitedstatesv.M edina,775F.2d 1398,1402(11thCir.1985);UnitedStatesv.
 Qazi,No.12-60298-CR,2012W L 7050588,at*3(S.D.Fla.Dec.19,2012).
        Based upon al1of the evidence and inform ation presented,and for the reasons stated in

 open court,this Court tinds that there is no condition or com bination of conditions of release

 w hich w illreasonably assure D efendant'spresence ifD efendantisreleased. The Courtfindsthat

 there isa seriousrisk thatD efendantw illtlee orfailto appearifreleased. Based on thenature of

 the charges,the weight of the evidence,the sentence thatD efendant is facing,the factthat the

 grand jury hasmade a probable cause finding,the factthatDefendantwascarrying so many
 electronic devices when she was arrested, the fact that D efendant's seem ingly innocent

                                                6
Case 9:19-cr-80056-RKA Document 17 Entered on FLSD Docket 04/15/2019 Page 7 of 7



 explanationsaboutw hy she w as atM ar-a-laago and why she had the devices w ith herhave been

 refuted by the G ovenunent,D efendant's strong fam ily,em ploym ent,and residential ties to the

 People's Republic ofChina,hercom plete lack oflack ofties to the Southern D istrictofFlorida

 and to theU nited States,the factthatshe hasthe financialresourcesto flee,the factthatthere isan

 im m igration detainer on her,the surreptitious nature of D efendant's conduct,the fact that she

 would likely be deported orrem oved after serving any crim inalsentence,the recom m endation of

 PretrialServicesthatD efendantbe detained,and the factthatthere isno extradition treaty betw een

 the People's Republic of China and the U .S,this Courttinds that D efendantis a substantial or

 seriousrisk offlightornonappearance.

        A ccordingly,it is hereby O RD ERE D thatD efendantbe com m itted to the custody ofthe

 Attorney Generalforconfinem entin a corrections facility separate,to the extentpracticable,from

 personsaw aiting or serving sentences orbeing held in custody pending appeal.The Courtdirects

 thatD efendantbe afforded reasonable opportunity forprivate consultation w ith counsel;and the

 Courtdirects that,on order of a court ofthe U nited States or on request of an attorney for the

 governm ent,the person in charge ofthe correctionsfacility in which D efendantisconfined deliver

 Defendantto a United States M arshalforthe purpose ofan appearance in connection w ith a court

 proceeding.

        D ON E and O     ERED in Cham bersatW estPalm Beach in the Southern D istrict

 OfFlorida,t
           his /Y    X ayofApril, 2019.



                                             W ILLIA M M A T H W M AN
                                             UN ITED STA TES M A G ISTRATE JUD G E



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